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American Medical Response, Inc. v. City of Stockton
United States District Court- Eastern District No. 2:05-CV-01316-DFL-PAN

HAKEEM DEPO
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IN THE UNITED STATES DISTRICT COURT

IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

AMERICAN MEDICAL RESPONSE, INC.,
a Delaware Corporation,

Plaintiff,
No. 2:05-CV-01316-DFL-PAN

vs.

CITY OF STOCKTON, a California
Municipality

Defendants.

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AND RELATED CROSS ACTIONS )
)

DEPOSITION OF MICHAEL HAKEEM
DATE: Friday, August 12, 2005 at 2:00 p.m.

DEPOSITION OFFICER: BOBBIE JO HARR
CSR No. 6090, RMR

TAKEN AT:

GAROUTTE'S

120 North Hunter Street, Suite 104
Stockton, California 95202

GAROUTTE'S
Certified Shorthand Reporters
120 North Hunter Street, Suite 104
Stockton, California 95202
(209) 942-2100 or Nationwide (800) 942-2103
FAX (209) 942-2150

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requested that I return Exhibit 46. We discussed it. I
told him I had to think about the situation. It was the
very end of the deposition, I was getting ready to begin
this deposition. But during lunch, it occurred to me to
probably deal with the issue immediately before Exhibit 46
is bound into the deposition.

Rather than wait until Monday as Mr. --
Mr. Delehunt asked me to get back to him by Monday. So
I propose to remove what the reported -- just stipulate

to have the reporter remove Exhibit 46 from the record

and then we -~ I can discuss the issue with Mr. Delehunt

further to determine what we need to do about it.

MS. BARNES: That's fine.

MR. HIGGINS: Okay. So you stipulate to remove
Exhibit 46 from the record of the Brad White deposition?

MS. BARNES: Yes, I do.

MR. HIGGINS: Thank you very much.

Why don't I give it -- madam court reporter,
I'm going to give Exhibit 46 to Ms. Barnes to return to
Mr. Delehunt.

THE REPORTER: Okay.

MS. BARNES: I've got it. Thank you.

MR. HIGGINS: Thank you for your patience.

Q. Would you please state your name for the record?

A. Michael David Hakeem.

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Q. Thank you very much.
Mr. Hakeem, are you an attorney licensed to
practice law in the State of California?
A. Yes.
Q. How long have you been an attorney practicing law
in California?
A. 1974,

Q. Was the first date that you began --

A. I think I was sworn in in '73, so between '73 and
"74.
Q. Have you taken depositions yourself?

A. Yes.

Q. Can you approximate how many depositions you've
taken?

A. Probably 50.

Q. At some point did American Medical Response, the
corporation, Inc., the corporation, become a client of
yours?

A. Yes.

Q. And when was the first time that -- oh, if I
refer to that entity as AMR --

A. That's fine.

Q. Is that fine?

When was the first time that AMR became a

client of yours?

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A. Some time between 1997 and 1998.

Q. I don't want to get into the attorney/client
relationship very deeply or -- really at all, if 1 can
avoid it, insofar as it doesn't relate to this lawsuit.

But can you tell me, have you continually
represented AMR in some capacity as AMR's attorney since
1997, 1998, when you first started?

A. I've maintained an open file on them throughout

that time frame.

Q. Okay. You've worked on separate matters for
them?
A. Various matters.

QO. Okay. Do you currently represent AMR? Are you
currently their attorney?
A. Yes. I'm currently one of their attorneys.
Q. Okay.
MR. HIGGINS: Let's mark this Exhibit -- I'm
sorry. I don't have a copy for you.
MS. BARNES: What is it, the subpoena?
MR. HIGGINS: I'm sorry. i didn't think to make
an extra copy.
(Whereupon Plaintiff's Exhibit 50 was
marked for Identification.)
MR. HIGGINS: Q. Do you recognize what the court

reporter has marked as Exhibit 50, Mr. Hakeem?

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A. Yes.
Q. What is Exhibit 50?
A. It is a subpoena that was served on me in this

matter.

Q. Okay. Commands you to be here today at 2:00, and
you are here. It also requests production of documents
described in Attachment A. Have you brought some
documents here today?

A. Yes.

MR. MANION: We have -- Mr. Hakeem and I have
gone through the subpoena, the description of documents,
and we have this stack of documents to produce to you.

I do want you to note that I believe the last
seven documents at the bottom do not have bate stamp
numbers on them because they were just discovered today,
and we had not had an opportunity to turn them over to
AMR's counsel in this litigation in sufficient time to
have them Bate stamped.

MR. HIGGINS: Okay. Thank you very much.

MR. MANION: I might add that there are some
additional documents that would be described by various
categories in your subpoena. However, in our opinion,
they were either protected by the Work Product Doctrine or
the attorney/client privilege. We've turned those

doctrines over to Page Barnes or her colleagues, and I
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understand that they have prepared a list of.those
documents, a privilege list -- a privilege log.
MR. HIGGINS: Great. Thank you very much.

Q. In 2002, Mr. Hakeem, you represented AMR in
attempts to oppose the City of Stockton's entry into the
ambulance business; is that right?

A. Tf -- I don't know if that's a fair
characterization. I appealed the issuance of their permit
to the board of supervisors in San Joaquin County and
requested that they not be issued the permit.

Q. Okay. I didn't mean to mischaracterize it. I
was just trying to get to the point.

Did you make an appearance before the board of
supervisors to make a statement on issue?

A. Yes.

Q. Did you make more than one appearance before the
board of supervisors to make a statement on this issue?

A. There was one hearing on the appeal where I
appeared and presented the issue as set forth in my appeal
document.

Q. Okay. Do you recall what your -- your arguments
were to the board of supervisors?

A. I don't recall all the arguments. There's a
document that was filed with the EMS agency which

articulated the various points that were raised in the

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I think they were then authorized by their City Council to

spend money and acquire ambulances and set up an ambulance

program. Whether they were actually dispatching calls to
their own units, I don't know at that point in time
whether they were operative.

Q. Do you know whether they did become operative?

A. They did become operative and they continue to be
operative through today's date. ©

Q. Speaking of 2003, do you recall becoming aware
that the San Joaquin County intended to issue an RFP, a
Request For Proposals?

A. Yes, I became aware of that.

Q. To provide emergency ambulance service in the
Stockton area?

A. I was aware that the board of supervisors was
going to issue an REP.

Q. Okay. Also in 2003, did you begin working for
AMR in negotiations with the City of Stockton to make a
joint response to the County REP?

A. Yes.

Q. What's the first thing that you recall the City
of Stockton and AMR doing in connection with the joint
effort to respond to the County's RFP?

A. My sense of that was that there -- there was

dialog between the Fire Department and the AMR personnel,
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that's my sense of how that original idea received its
initiation.

Q. Okay. And what was the first thing you
personally were involved in, if you were, in the joint
effort between the City of Stockton and AMR in 2003?

A. I don't have a recollection of the first thing,
but I do know that I had a meeting at the City Manager's
office in the spring of '03 relative to the concept.

Q. Who else was present at that meeting?

A. I don't remember who was there, but my sense of
it was there was more than myself and the City Manager.
My recollection was there was other people in the meeting,

but I don't remember the faces.

Q. Do you recall documents being exchanged?
A. No.
Q. Do you know if anyone took notes of what happened

at that meeting?

A. I took notes at the meeting.

Q. What's the next thing you remember personally
being involved in that concerned both the City of Stockton
and AMR in connection with the joint effort?

A. I remember writing a letter to Mark Lewis asking
him to consider the concept, and I set forth some terms
for his consideration.

Q. Did Mr. Lewis respond?
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A. Yes.

Q. First time you said Fire, I thought you were
using a metaphor, and I was trying to figure it out.

What's the next thing you recall after Mr.

Lewis responded to you? What's the next thing you
recall being involved in with the City of Stockton in
connection with this joint effort between the City and
AMR?

A. I think there were a series of documents that

were exchanged to end up with a document that was signed

or executed by the parties relative to the Memorandum of
Understanding between AMR and the City.

Q. Okay. Do you remember between -- between this
time when Mr. Lewis responded to you in writing the first
time and the signed Memorandum of Understanding that
you've described, you testified there's a series of
documents exchanged. Was there also meetings during that

period that involved both the City of Stockton and AMR

representatives?

A. I don't remember those meetings.

Q. Do you remember any meeting at which you attended
where text was projected on a screen and the -- people in

attendance at the meetings discussed the text and revised

it right there?

A. I do remember that meeting. I don't have a sense

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today that that meeting occurred in concert with that
document that we're discussing.

Q. Okay. So that meeting where text was projected
on a screen, you don't recall if that text eventually
became the document signed by the parties, the MOU,
Memorandum of Understanding you've described?

A. I don't. As I sit here today, I can't time frame
that particular meeting.

Q. Okay. Do you remember any discussions involving

representatives of both the City of Stockton and AMR, any

discussions about the terms for the Memorandum of

Understanding between those representatives?

A. Can you ask that again?
Q. Yes. The Memorandum of Understanding, its terms,
do you remember any discussion between you -- between AMR

representatives and City of Stockton representatives about
those terms?

A.- My sense is there were exchanges of written
materials, but I don't recollect having any personal
dialog between the parties relative to the written
materials.

MR. HIGGINS: Let's mark next in order.
(Whereupon Plaintiff's Exhibit 51 was
marked for Identification. )

MR. HIGGINS: Q. Mr. Hakeem, will you please .
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take a Look at a document that has been marked Exhibit 51

by the court reporter. For the record, Exhibit 51 is

Bates CS 002875 and CS 002876. It is a two-page document.
It is a Memorandum dated April 17th, 2003 on

the letterhead of law offices of Hakeem, Ellis and

Marengo?
A. Yes, I remember this document.
Q. You've reviewed Exhibit 51, sir, and you

recognize it?

A. Yes, and I do recognize it. |

Q. What is Exhibit 51?

A. After the meeting, I wrote a Memorandum to the
Deputy City Attorney articulating what t felt were the
business points relative to the proposal to connect with
the City Fire on the process for the RFP.

Q. Okay. When you say "after the meeting,” which
meeting are you referring to?

A. The Memorandum indicates that there was a meeting
with Mike Rishwain on April 15th, 2003. That's a
different meeting than the meeting with the City Manager.

Q. Okay. Was that meeting with Mr. Rishwain on
April 15th, 2003 after the meeting you've testified about
in the City Manager's office?

A. I believe so.

Q. Okay.
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A. And I-do remember that that meeting with Mr.
Rishwain, there was just the two of us in the meeting.

Q. How long did that meeting last?

A. Oh, probably 45 minutes to an hour, something
like that. It may have been a half hour or 40 minutes,
something like that.

Q. The paragraph that has number one on the first

page of Exhibit 51.

A. Uh-huh.
Q. It begins, "There may be a Constitutional
prohibition." Do you see that?

A. Uh-huh.

Q. Who raised that issue during your meeting with
Mr. Rishwain?

A. Let me read the paragraph.

I believe that was Mr. Rishwain's concern.

Q. The Constitutional prohibition?

A. For a city to enter into a partnership. And I'm
reading this with respect to unlimited liability for the
activities of a nonmunicipal partner, but it may have been
something that we both jointly discussed.

Q. Uh-huh.

A. But it wasn't something that I remember going to
the meeting thinking about.

Q. Okay. Do you remember who raised the issue of
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forming a Limited Liability Company, LLC?

A. I think that was an idea that I had formed prior
to the meeting.

Q. Do you see the reference to the City, AMR, and
A-One? Do you recall who proposed including A-One, the
entity that you referred to there as A-One?

A. Would have been AMR's concept to include A-One in

the program.

Q. A-One is the name of a business entity?

A It was a small ambulance company in Stockton.

Q. Okay.

A Owned by a single person who carried on when her;

husband passed away, and there was some sympathy in the
industry to help that person continue to keep her business
viable.

Q. I see. Do you know how many ambulances A-One
operated at this time in 2003?

A. Somewhere between one and three, more likely to
be closer to one or two.

Q. Did you represent A-One as well as AMR in this
meeting with Mr. Rishwain on the 15th of April 2003?

A. I don't know how to characterize the definition
of representation, but I do know that I was aware of the
need to include A-One, and I indicated to Mike Rishwain

that we wanted to have A-One included in the program.
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Q. Paragraph number two, there's a reference to the
option to enter into a joint venture. Do you see that?

A. Yes.

Q. Do you recall who raised the possibility of
entering into a joint venture?

A.. I think that was probably something that both
Mike and I discussed, given the information that there's a
limited number of structures.that one could utilize for

this type of a format.

Q. Okay.
A. . It isn't -- scratch that last comment .
Q. Sure. I need to go back. A-One, the woman you

talked about who was operating that, was that Donna
McCann?

A. Yes.

Q. Thank you. Paragraph number three, do you
remember whose ideas this reflects in your Memorandum?

A. Well, there's two sentences. The first sentence,
the business plan to participate was a concept that I
think had already surfaced, in terms of it being fair to
both AMR and the City, they would both get an equal
deployment program from the RFP.

Q. Uh-huh.

A. That they would share the deployment.

The second sentence regarding the withdrawal of
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joint venture and precluding the ability to compete,
that came from the City Fire e-mail that had surfaced
some weeks before from City Fire. That was one of the
bullet points in the City Fire e-mail.

Q. Okay. And this -- the language, though, in -
number three, does this exactly track the language that
was in that e-mail?

A. Pretty much. We produced it today.

Q. Can you look at the documents you produced today

and show me this e-mail?

A. It may take me a few minutes to find it.
Q. Are the documents in chronological order?
A. They're in chronological -- let me restate that.

They're grouped by year, but they're not calendered within
a given year.

MS. BARNES: Except the ones that were added at
the back today.

MR. MANION: The ones without the bate stamp
numbers.

MR. HIGGINS: All right. Thank you.

Let the record reflect that Mr. Hakeem has

selected a document from the stack of documents produced

today and handed it to me. Thank you.

THE WITNESS: I believe it is the last item on

the page.

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MR. HIGGINS: Q. The one with the number seven
next to it?

A. I didn't look at the number. I'd have to look at
it again.

Q. Okay. Would you take a look at that sentence
next to number seven?

A. Yes.

Q. Okay. Would you compare that to the second
sentence in paragraph three in your memo of April 17th,
2003?

A, Yes, I have compared it with the second sentence

in number three.

Q. Okay. Do you see differences between the two?

A. I don't see any significant or substantive
differences between the two.

Q. Okay. Do you see the part -- well, see the very
end of the second sentence in paragraph three. "Or accept
an invitation to join or participate with any third party
bidder (successful or otherwise) ."

Do you see that?

A. I do see that, and I don't think that's a
substantive difference.

Q. But that is in addition to the language that is
in the e-mail that you've produced, correct?

A. Correct.
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Okay.

Q

A. Without arguing --_

Q. I'm just asking for -- as a matter of fact.

A. Okay.

Q. Okay. And then you see the language right in the
middle of the second sentence of paragraph three in your
April 17th, 2003 memo. It says, "And to also preclude the
ability to compete against the joint venture."

Do you see that?
A. Uh-huh, I see that.

Q. Okay. Is that language included in the sentence

in the e-mail that you've produced?

A. I believe it is the same as that party will be

excluded from competing, as the language precludes the

ability to compete against.

Q. Okay. The e-mail says, "If any party withdraws
from this Agreement prior to an award in the EOA process,"
A. And this sense says --

Q. "that party will be excluded from competing."

A. Correct.
Q. So the exclusion from competing depends upon

withdrawal, in paragraph seven of this e-mail; isn't that
correct?
MS. BARNES: Objection, calls for opinion.

THE WITNESS: I guess I'm not following the
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thought process that you wouldn't be able to compete if
you were in a joint proposal.
MR. HIGGINS: Q. Why is that?

A. Well, you can't -- you can't submit mutually
exclusive proposals in the RFP process.

Q. What do you mean by "mutually exclusively
proposals"?

A. You couldn't submit a bid on your own and also
submit a bid with the City.

Q. Why not?

A. My understanding is that the RFP is structured so
that that doesn't occur.

Q. How is it so structured?

A. Well, I don't have the RFP in front of me. My
understanding is that's how it is structured to include
that.

Q. This is the RFP that actually issued recently?

A. Yes.

Q. But at this time in 2003 when you were exchanging
documents with representatives of the City about potential

terms for an Agreement, there was no REP, right?

A. No, not at that time.

MS. BARNES: Okay. I guess -~ why don't we take
a short break.

(Off the record.)
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MR. HIGGINS: Let's mark this next
the record.

MR. MANION: You want to insert it
documents we produced so that they all stay

MR. HIGGINS: Why don't we put the
in the documents and we'll mark a copy made

can look at’ it. And this is Exhibit 52.

in order, for

back in the
intact?
original back

and Mr. Hakeem

(Whereupon Plaintiff's Exhibit 52 was

marked for Identification.)

MR. HIGGINS: Mr. Hakeem, please take a look at

Exhibit 52..

Tell me if you recognize it?

A, Yes. That's the e-mail that was in my file.

Q. And that's what you've just been testifying about

in connection with the number seven sentence there?

A. Yes.

Q. Do you remember who provided this to you?

A. I don't.

Q. There's no indication here that you were cc'd?
A. No, that's correct.
Q. Okay. Do you recall discussion with Mike

Rishwain during your meeting on April 15th about this

paragraph number seven in the e-mail?
A. I don't.

Q. Okay.

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A. I don't recall discussing this with him.

Q. And when you drafted your Memorandum of
April 17th, 2003, did your discussion of this issue in
paragraph number three, did that reflect your

understanding of paragraph seven in the e-mail?

A. Yes.

Q. Okay.

A. I do recollect discussing item number seven with
Mike.

Q Item number --

A. Seven.

Q In the e-mail?

A. Yes. With Mike Rishwain at the meeting, but I
don't recollect whether it related to this document or
not.

Q. Okay. So you had no recollection as to whether
or not your version of this concept -~ the sentence in
your memo begins "This concept." Your version of this
concept reflects any of the discussion you had with Mike
Rishwain?

A. I'm not sure I understand the sentence. My
utilization of the language in number three, at least as
to the second sentence, was intended to address item
number seven in this memo. And I did not discuss this

memo, Exhibit 52, that is, I didn't discuss that exhibit

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STATE OF CALIFORNIA )
COUNTY OF SAN JOAQUIN ) ss.

I, BOBBIE JO HARR, Certified Shorthand Reporter herein,
do hereby certify:

That on August 12, 2005, at 2:00 p.m., the witness
herein, MICHAEL HAKEEM, was duly sworn:

That said witness' testimony and the proceedings had at.
the time of such testimony were taken down in shorthand
notes by me; I thereafter caused said shorthand notes to be
transcribed into longhand typewriting, the following being a
full, true, and correct transcription therein; .

That I am a disinterested person, and am not in any way
interested in the outcome of said action; nor connected with

‘nor related to any of the parties in said action, nor to

their respective counsel;
---000---
On August 13, 2005, all counsel were given notice of

-the preparation of the deposition, and the original

deposition was available for reading, correcting, approval,
or signing in our offices until September 15, 2005.
---000---

The witness signed the deposition and made no
corrections.

The witness and parties waived examination and reading
of the deposition at the time of the taking of the
deposition.

The witness corrected, approved, or refused to approve
the deposition by letter to me attached thereto, and copies
of the letter were sent to all counsel.

The witness failed to appear at my office.

The witness appeared in my office, made changes to the
deposition, and counsel were provided with copies of the
changes.

The witness refused to approve or sign the deposition
for the following reasons:

Other:

IN WITNESS WHEREOCF, I have hereunto subscribed my hand.

DATE; ;
selon Feb
BOBBIE JO HARR, CSR NO. 6090, RMR
COUNSEL: YOU WILL BE NOTIFIED OF ANY CHANGES OR CORRECTIONS
TO THE DEPOSITION. CONTACT OUR OFFICE IF YOU HAVE ANY

QUESTIONS.

